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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                   AT LEXINGTON

   CRIMINAL ACTION NO. 5:11-CR-114-KKC

   UNITED STATES,                                                            PLAINTIFF


   v.                            OPINION AND ORDER


   AARON CODY POOR,
   FELICIA POOR,
   RICHARD A. RANKIN, and
   NATHAN RANKIN                                                           DEFENDANTS

                                      *** *** *** ***


          This matter is before the Court on the first Motion to Suppress filed by Defendant

   Richard Rankin [DE 34]. Defendant Richard Rankin has recently filed a second Motion

   to Suppress [DE 77] which is not yet ripe for ruling.

          Each of the four Defendants is charged with one count of conspiring to distribute

   Oxycodone in violation of 21 U.S.C. § 846 and one count of using a communication

   facility -- Federal Express -- to possess Oxycodone with the intent to distribute it in

   violation of 21 U.S.C. § 843(b). Defendant Richard Rankin is also charged with

   knowingly possessing Oxycodone with intent to distribute in violation of 21 U.S.C. §

   841(a)(1).

          Rankin filed this Motion to Suppress and this Court referred it to the Magistrate

   Judge for a recommended disposition pursuant to 28 U.S.C. § 636(b)(1)(B). In his
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   recommended disposition, the Magistrate Judge recommends [DE 67] that this Court

   deny Richard Rankin's Motion to Suppress.

          There have been no objections to this recommendation by the Magistrate Judge

   and the Court agrees with its analysis and conclusion. Accordingly, the Court hereby

   ORDERS as follows:

          1)     the Magistrate Judge's Recommended Disposition regarding Richard

   Rankin's Motion to Suppress [DE 34] is ADOPTED as the opinion of this Court; and

          2)     Richard Rankin's Motion to Suppress [DE 34] is DENIED.




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